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AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the
                                                     Western    District of     New York


                     Shahadah Sainpaulin                             )
                             Plaintiff                               )
                                v.                                   )         Civil Action No.       6:21-CV-6396-EAW
                      Finger Lakes DDSO                              )
                            Defendant                                )

                                             JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

   the plaintiff (name)                                                                                         recover from the
defendant (name)                                                                                                   the amount of
                                                                            dollars ($                ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of              % per annum, along with costs.

    the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                   recover costs from the plaintiff (name)
                                            .

    other:     the case is dismissed without prejudice.

                                                                                                                                      .

This action was (check one):

   tried by a jury with Judge                                                                          presiding, and the jury has
rendered a verdict.

   tried by Judge                                                                          without a jury and the above decision
was reached.

    decided by Judge            Elizabeth A. Wolford                                            on a motion for N/A

                                                                                                                                      .

Date:             06/27/2022                                                  CLERK OF COURT

                                                                                               s/Mary C. Loewenguth
                                                                                           Signature of Clerk or Deputy Clerk
